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                                                                                          2019 Feb-20 PM 05:02
                                                                                          U.S. DISTRICT COURT
                                                                                              N.D. OF ALABAMA




                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ALABAMA
                                 EASTERN DIVISION


POLLY JANE HOPKINS and                         )
STANLEY HOPKINS,                               )
                                               )
               Plaintiffs,                     )
                                               )
V.                                             )        CIVIL ACTION NO.
                                               )
JOHN WESLEY GRIFFIN,                           )
DIVERSIFIED DELIVERY                           )
SOLUTIONS, LLC, MIKE BRES,                     )
BOYETTE ENTERPRISES, LLC d/b/a                 )
BLUE STREAK EXPEDITING,                        )
                                               )
                                               )
               Defendants.                     )



                                        COMPLAINT


       COME NOW the Plaintiffs, by and through the undersigned counsel, and file this their

Complaint against the defendants as follows:



                             PARTIES, JURISDICTION AND VENUE

                                                   1.

       Plaintiffs, Polly Jane Hopkins, (“Ms. Hopkins”), and Stanley Hopkins (“Mr. Hopkins”) are

husband and wife and adult residents of the State of Georgia.
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                                                 2.

       As will be more particularly described in this Complaint, Polly Jane Hopkins was severely

injured in the collision made the basis of this suit. She has permanent injuries.

                                                 3.

       Defendant, John Wesley Griffin, (“Defendant Griffin”), is an adult resident of the State of

Alabama. Defendant Griffin’s address is 217 Blackmon Circle, Adamsville, Alabama 35005.

                                                 4.

       Defendant, Diversified Delivery Solutions, LLC, (“Defendant Diversified”), is an Alabama

limited liability corporation, whose principal address is in Hoover, Alabama.          Defendant

Diversified’s principal address is listed at 2531 Redstart Lane, Hoover, Alabama           35226.

Defendant Diversified’s registered agent is CSC Lawyers Incorporating SVC, Inc., 150 South

Perry Street, Montgomery, Alabama 36104.

                                                 5.

       Defendant, Mike Bres, (“Defendant Bres”), is an adult resident of the State of Alabama.

Defendant Bres’ residence is located at 2531 Redstart Lane, Hoover, Alabama 35226. Defendant

Bres is the owner and principal shareholder of Defendant Diversified Delivery Solutions, LLC.

                                                 6.

       Defendant, Boyett Enterprises, LLC, d/b/a Blue Streak Expediting, (“Defendant Boyett”),

is a Florida limited liability corporation, whose principal place of business is located at 3840

Belfort Road #303, Jacksonville, FL 32216. Defendant Bres’ registered agent is The Farah Law

Group located at 6550 St. Augustine Road, Suite 103, Jacksonville, FL 32217.
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                                                 7.

        Jurisdiction in this case is founded under the provision of 28 U.S.C. §1332(a), et seq.,

which grants this court jurisdiction in civil actions on the basis of diversity of citizenship where

the matter in controversy, exclusive of interests and costs, exceeds seventy-five thousand dollars.

($75,000.00).

                                                 8.

        The Court has proper venue pursuant to 28 U.S.C. §1391(a), as the incident made the basis

of this suit occurred in Talladega County, Alabama which is in the Northern District of Alabama.



                                            COUNT 1

                NEGLIGENCE AND/OR WANTONNESS OF DEFENDANTS



                                                 9.

        Plaintiff adopts and realleges each and every allegation contained in paragraphs 1 through

8 above as if fully set forth herein.

                                                10.

        On January 30, 2018, at approximately 9:39 a.m., Ms. Hopkins was traveling south on AL

275, approaching the intersection with Jackson Trace Road, in Talladega, Alabama.

                                                11.

        At the same time, Defendant Griffin was the driver of a large 2008 Delivery van traveling

north on Jackson Trace Road, approaching the intersection with AL 275, in Talladega Alabama.
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                                                12.

       Plaintiffs further allege at that time Defendant negligently and wantonly failed to stop at a

properly marked stop sign or yield at a subsequent yield sign. Defendant Griffin, after failing to

stop or yield, pulled out into the intersection of Jackson Trace Road and AL 275 and into the path

of Ms. Hopkins, causing a horrific and terrible crash and significant injuries to Ms. Hopkins.

                                                13.

       Ms. Hopkins required extrication by the Talladega Fire and Rescue and NorthStar

Paramedics. Ms. Hopkins was immediately transported to Citizens Brookwood Hospital in

Talladega where she was stabilized and then transported to UAB Medical Center for a staged

reconstruction of the right ankle and tibia/fibula. She required two (2) separate ankle and

tibia/fibula surgeries and was hospitalized at UAB through February 8, 2018. On February 8th,

2018, Ms. Hopkins was transported by ambulance to Floyd Medical Center in Cedartown, Georgia

(her hometown) where she remained hospitalized for extensive inpatient rehabilitation through

February 21st. During the rehabilitation, Ms. Hopkins was transported by ambulance back to UAB

for surgery follow-up. She was prescribed outpatient rehabilitation at the Floyd Medical Center

Rehab facility in Cedartown and is still receiving physical therapy and rehabilitation at Floyd

Medical Center.

       Ms. Hopkins suffered the following permanent, debilitating, and life altering injuries:

Open fractures of her right ankle and tibia/fibula (trimalleolar fractures), fractured sternum,

fractured left wrist/arm along with multiple bruises, abrasions, loss of blood from her body at the

crash scene, stitches, scars, pain over her entire body, including her low, mid, and upper back and

neck, pain about her head, headaches, loss of consciousness, closed head injury, hospitalization,

surgeries, physical therapies, stiffness, soreness, antalgic gait, range of motion problems, limping,
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use of a cane, pain, permanent injuries, the need for continued and future medical care and help,

lost wages and mental difficulties while driving, reliving the event, post traumatic stress and

depression from loss of mobility, fear of needing to run and not being able to do it, loss of

enjoyment of everyday activities and hobbies, loss of ability to stand for any length of time on her

feet, and other injuries that have completely, permanently and tragically altered her life. Ms.

Hopkins has incurred medical bills of over $280,000.00, and this figure will continue to rise for

the remainder of her life as she needs medical care and help, both physically and mentally.

                                                14.

       Ms. Hopkins suffered lost wages and diminution on her ability to work and enjoy work.

                                                15.

       Ms. Hopkins’ life has been permanently and severely up-ended and changed as a result of

the negligence of the Defendants.

                                                16.

       Defendant Griffin was operating a large delivery van in the course and scope of

employment with Defendants Diversified, Bres and Boyett. Defendant Griffin is responsible for

his conduct, and Defendants Diversified, Bres and Boyett, are responsible for the actions and

conduct of their employee driving their large delivery van in the course and scope of his

employment and in furtherance of the business of Defendants Diversified, Bres and Boyett.

Defendants Diversified and Boyett are common motor carriers as that term is defined under

Alabama and federal law.
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                                                 17.

        Defendant Bres is the owner and principal shareholder of Defendant Diversified and

Defendant Bres is responsible as the employer of Defendant Griffin who caused the crash while in

the course and scope of his employment with Defendant Bres.

                                                 18.

        Defendant Boyett Enterprises, d/b/a Blue Streak Expediting, was engaged in the interstate

shipment of products as the employer, contractor and common business enterprise

partner/principal of Defendant Diversified and Defendant Griffin.

                                                 19.

        The conduct of the defendants herein was wrongful, negligent, and/or wanton and renders

said Defendants liable to the Plaintiffs.



        WHEREFORE, the Plaintiffs demand judgment against the Defendants for compensatory

and punitive damages in an amount that would be mete, just and proper under the circumstances

and under the damage laws of the State of Alabama.




                      COURT II NEGLIGENT AND/OR WANTON HIRING

                                                 20.

        Plaintiff reavers and realleges all of the allegations in the preceding paragraphs as if set

out in full herein.
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                                                 21.

        The Defendants, including Diversified, Bres, and Boyett, negligently and/or wantonly

hired and continued to employ John Wesley Griffin to drive a vehicle on the public roads of

Alabama without proper background investigation, checking or monitoring his driving history

and/or criminal history. This negligence and/or wantonness contributed to and/or caused the

wreck to occur on January 30, 2018, which resulted in the injuries to the Plaintiff, Polly Jane

Hopkins.



              COUNT III NEGLIGENT AND/OR WANTON TRAINING AND

                                          SUPERVISION

                                                 22.

        Plaintiff re-avers and realleges all of the allegations in the preceding paragraphs as if set

out in full herein.

                                                 23.

        The Defendants including Diversified, Bres and Boyett negligently and/or wantonly

trained John Wesley Griffin during his employment. This negligent and/or wanton training

prevented him from being properly qualified to drive a vehicle on the public roads of Alabama,

which caused and/or contributed to the collision, which resulted in the injuries to the Plaintiff

Polly Jane Hopkins.

                                                 24.

        The Defendants negligently and/or wantonly supervised John Wesley Griffin during his

employment by failing to have necessary safety management controls in place and functioning to

meet safety fitness standards. This negligent and/or wanton supervision led to him being
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unqualified to drive a vehicle on the public roads of Alabama and lack of supervision caused

and/or contributed to the injuries of Plaintiff, Polly Jane Hopkins.



                       COUNT IV STANLEY HOPKINS’ CLAIM FOR

                                     LOSS OF CONSORTIUM

                                                25.

       Plaintiff adopts and realleges each and every allegation contained in paragraphs 1 through

24 above as if fully set forth herein.

                                                26.

       Stanley Hopkins is the husband of Plaintiff, Polly Hopkins. The aforesaid breach of legal

duties by Defendants, as set forth herein and as a proximate consequence of said negligent,

wanton, or wrongful conduct, Defendants caused Plaintiff, Stanley Hopkins, to suffer the

following injuries and damages.

       (a) He was caused and will be caused in the future to incur medical bills on behalf of his

           wife.

       (b) He was caused to lose wages to care for his wife

       (c) He was caused, and will be caused in the future, to incur substantial caretaker services

           in caring for his wife.

       (d) He was caused to suffer emotional and mental anguish.



       WHEREFORE, on the basis of the foregoing, Plaintiffs request that the jury selected to

hear this case render a verdict for them against Defendants for compensatory and punitive damages
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in an amount which will adequately compensate them for the injuries and damages they sustained

and to punish and deter said actions or such conduct by the Defendants in the future.



              PLAINTIFF HEREBY DEMANDS TRIAL BY STRUCK JURY


                                             Respectfully Submitted,

                                             /s/Spencer T. Bachus, III
                                             Spencer T. Bachus, III ASB-5865-A58S


/s/Spencer T. Bachus, III                    /s/William L. Lundy, Jr.
Spencer T. Bachus, III                       William L. Lundy, Jr.
ASB-5865-A58S                                ASB-5310-L52W
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PLEASE SERVE DEFENDANTS BY CERTIFIED MAIL AS FOLLOWS:

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Adamsville, AL 35005                     Hoover, AL 35226

Boyett Enterprises, LLC                  Diversified Delivery Solutions
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Jacksonville, FL 32217                   Montgomery, AL 36104
